                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

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    IN RE: PARAQUAT PRODUCTS                        )   Case No. 3:21-md-3004-NJR
    LIABILITY LITIGATION                            )
                                                    )   MDL No. 3004
                                                    )
    This Document Applies To:                       )   Hon. Judge Nancy J. Rosenstengel
                                                    )
    All Current Actions. See CMO No. 8.             )

              SYNGENTA’S CONSOLIDATED PARTIAL MOTION TO DISMISS

         The Syngenta Defendants (“Syngenta”) file this motion pursuant to Federal Rule of Civil

Procedure 12(b)(6) and Case Management Order No. 8, ECF No. 347.1 This motion applies to all

Current Actions as defined by Case Management Order No. 8, which are also listed below. See

supra Part II. The motion specifically moves to dismiss claims in the Current Actions for breach

of warranty, fraud, and violation of certain consumer protection statutes, which are specifically set

forth in the appendix accompanying this motion. Defendants will also submit a proposed order

identifying all of the counts that are subject to dismissal under this motion and the motion to

dismiss filed by Chevron U.S.A., which Syngenta joins.

I.       Motion to Dismiss

         As set forth in greater detail in the accompanying memorandum and appendix in support

of this motion, Syngenta moves as follows:

         1.     The Court should dismiss with prejudice claims brought under the state laws of
                Connecticut, Indiana, Kansas, Louisiana, Mississippi, North Carolina, and
                Washington, because those state have enacted comprehensive products-liability


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  Not every Syngenta entity named in each of the Current Actions has been properly served with
process. Although the Syngenta Defendants file this motion collectively, any Syngenta entity for
which a plaintiff has failed to effectuate adequate service of process reserves the right to challenge
service in accordance with CMO No. 8. See ECF No. 347 ¶ 3.
               laws that provide the exclusive remedy for product-based personal injuries and that
               subsume claims brought under other theories of liability.

       2.      The Court should dismiss certain plaintiffs’ claims for breach of warranty based on
               the following reasons:

               a.     In states that limit warranty remedies to a product’s purchaser and the
                      purchaser’s family, household-members, and guests, the Court should
                      dismiss the claims of plaintiffs that do not fall within one of those
                      categories. In states that further limit warranty rights to actual purchasers
                      by requiring that warranty plaintiffs demonstrate vertical privity, the Court
                      should dismiss the claims of plaintiffs that do not allege to have actually
                      purchased the products they allege caused them harm.

               b.     The Court should dismiss warranty claims of plaintiffs who fail to plead
                      pre-suit notice in accordance with the warranty laws they invoke.

       3.      The Court should dismiss certain plaintiffs’ claims for violations of state consumer
               protections laws based on the following reasons

               a.     The Court should dismiss with prejudice claims brought under consumer
                      protection laws in California, Maine, Missouri, and Pennsylvania, because
                      those laws provide remedies only for consumers who purchased goods
                      primarily for personal, family, or household use, which do not include
                      paraquat products.

               b.     The Court should dismiss with prejudice claims brought under consumer
                      protection laws in Illinois, Iowa, Maine, Minnesota, and Washington,
                      because those laws do not provide remedies for physical harm.

               c.     The Court should dismiss claims brought under the consumer protection
                      laws in Minnesota and Idaho for state-specific reasons set forth in the
                      accompanying memorandum in support of this motion.

II.    Current Actions

       This motion applies to all Current Actions as defined by Case Management Order No. 8,

which are complaints in those pending actions in which a defendant was served with the complaint

on or before August 11, 2021. See CMO 8, ECF No. 1131. Those actions are:

       •    Hemker v. Syngenta Crop Protection, LLC, No. 3:21-pq-547
       •    Piper v. Syngenta Crop Protection, LLC, No. 3:21-pq-548
       •    Runyon v. Syngenta Crop Protection, LLC, No. 3:21-pq-549
       •    Kearns v. Syngenta Crop Protection LLC, No. 3:21-pq-550
       •    Durbin v. Syngenta Crop Protection LLC, No. 3:21-pq-551

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•   Barrat v. Syngenta Crop Protection LLC, No. 3:21-pq-552
•   Holyfield v. Chevron U.S.A. Inc., No. 3:21-pq-553
•   Rakoczy v. Syngenta Crop Protection, LLC, No. 3:21-pq-554
•   Albanese v. Syngenta AG, No. 3:21-pq-555
•   O’Connor v. Syngenta AG, No. 3:21-pq-556
•   Turner v. Syngenta Crop Protection LLC, No. 3:21-pq-558
•   Denes v. Syngenta AG, No. 3:21-pq-563
•   Majors v. Syngenta AG, No. 3:21-pq-566
•   Richter v. Syngenta Crop Protection, LLC, No. 3:21-pq-571
•   Gieseke v. Syngenta Crop Protection, LLC, No. 3:21-pq-576
•   Tenneson v. Syngenta Crop Protection LLC, No. 3:21-pq-589
•   Crawford v. Syngenta Crop Protection, LLC, No. 3:21-pq-590
•   Miller v. Syngenta Crop Protection, LLC, No. 3:21-pq-00591
•   Hill v. Syngenta Crop Protection, LLC, No. 3:21-pq-594
•   Walkington v. Syngenta AG, No. 3:21-pq-601
•   Holmes v. Syngenta AG, No. 3:21-pq-602
•   Gray v. Syngenta Crop Protection LLC, No. 3:21-pq-603
•   Moen v. Syngenta Crop Protection LLC, No. 3:21-pq-605
•   Rutherford v. Syngenta Crop Protection LLC, No. 3:21-pq-606
•   Nunnery v. Syngenta AG, No. 3:21-pq-607
•   Van Pelt v. Syngenta AG, No. 3:21-pq-608
•   Ruscoe v. Syngenta AG, No. 3:21-pq-609
•   Strickland v. Syngenta Crop Protection LLC, No. 3:21-pq-611
•   Hays v. Syngenta Crop Protection, LLC, No. 3:21-pq-612
•   Otten v. Syngenta Crop Protection LLC, No. 3:21-pq-613
•   Adams v. Syngenta Crop Protection LLC, No. 3:21-pq-614
•   McCarty v. Syngenta Crop Protection LLC, No. 3:21-pq-616
•   Hensgens v. Syngenta AG, No. 3:21-pq-617
•   Barr v. Syngenta AG, No. 3:21-pq-618
•   Copas v. Syngenta Crop Protection LLC, No. 3:21-pq-619
•   Haresnape v. Syngenta AG, No. 3:21-pq-621
•   Dietrich v. Syngenta Crop Protection, LLC, No. 3:21-pq-622
•   Vacchino v. Syngenta AG, No. 3:21-pq-623
•   Larsen v. Syngenta Crop Protection, LLC, No. 3:21-pq-624
•   Werking v. Syngenta AG, No. 3:21-pq-625
•   Glassburn v. Syngenta Crop Protection, LLC, No. 3:21-pq-626
•   Smith v. Syngenta Crop Protection, LLC, No. 3:21-pq-627
•   Ward v. Syngenta AG, No. 3:21-pq-628
•   Ayres v. Syngenta Crop Protection, LLC, No. 3:21-pq-629
•   Galasso v. Syngenta AG, No. 3:21-pq-630
•   Parson v. Syngenta Crop Protection, LLC, No. 3:21-pq-631
•   Brown Jefferson v. Syngenta AG, No. 3:21-pq-632
•   Dove v. Syngenta AG, No. 3:21-pq-633
•   Landis v. Syngenta Crop Protection, LLC, No. 3:21-pq-634

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•   Hawkins v. Syngenta Crop Protection LLC, No. 3:21-pq-635
•   Henderson v. Syngenta Crop Protection LLC, No. 3:21-pq-636
•   Elmore v. Syngenta Crop Protection, LLC, No. 3:21-pq-638
•   Supenia v. Syngenta Crop Protection, LLC, No. 3:21-pq-639
•   Gamwell v. Syngenta Crop Protection, LLC, No. 3:21-pq-640
•   Trower v. Syngenta Crop Protection, LLC, No. 3:21-pq-641
•   McDonald v. Syngenta Crop Protection, LLC, No. 3:21-pq-642
•   Kirk v. Syngenta Crop Protection, LLC, No. 3:21-pq-643
•   Richmond v. Syngenta Crop Protection, LLC, No. 3:21-pq-644
•   McDonald v. Syngenta Crop Protection, LLC, No. 3:21-pq-645
•   Cates v. Syngenta Crop Protection, LLC, No. 3:21-pq-646
•   Morrow v. Syngenta Crop Protection LLC, No. 3:21-pq-647
•   Pilgreen v. Syngenta Crop Protection, LLC, No. 3:21-pq-648
•   Self v. Syngenta Crop Protection, LLC, No. 3:21-pq-649
•   West v. Syngenta Crop Protection, LLC, No. 3:21-pq-650
•   Nichols v. Syngenta Crop Protection LLC, No. 3:21-pq-652
•   Gaddis v. Syngenta Crop Protection, LLC, No. 3:21-pq-653
•   Smith v. Syngenta Crop Protection, LLC, No. 3:21-pq-654
•   Wilson v. Syngenta Crop Protection, LLC, No. 3:21-pq-655
•   Crane v. Syngenta Crop Protection LLC, No. 3:21-pq-656
•   Friday v. Syngenta Crop Protection LLC, No. 3:21-pq-657
•   Rysavy v. Syngenta Crop Protection, LLC, No. 3:21-pq-659
•   Adams v. Syngenta AG, No. 3:21-pq-660
•   Normand v. Syngenta AG, No. 3:21-pq-661
•   Nelson v. Syngenta AG, No. 3:21-pq-662
•   Ingram v. Syngenta AG, No. 3:21-pq-663
•   Passino v. Syngenta AG, No. 3:21-pq-665
•   Edwards v. Syngenta Crop Protection, LLC, No. 3:21-pq-666
•   Mettetal v. Syngenta AG, No. 3:21-pq-668
•   Jones v. Syngenta AG, No. 3:21-pq-669
•   Milling v. Syngenta Crop Protection, LLC, No. 3:21-pq-671
•   Amatucci v. Syngenta AG, No. 3:21-pq-672
•   Wurster v. Syngenta Crop Protection LLC, No. 3:21-pq-677
•   Sweeten v. Syngenta Crop Protection, LLC, No. 3:21-pq-687
•   Danforth v. Syngenta Crop Protection LLC, No. 3:21-pq-690
•   Frank v. Syngenta Crop Protection LLC, No. 3:21-pq-691
•   Zaugg v. Syngenta Crop Protection LLC, No. 3:21-pq-694
•   Byrnes v. Syngenta Crop Protection LLC, No. 3:21-pq-695
•   Lovelady v. Syngenta AG, No. 3:21-pq-704
•   Andersen v. Syngenta AG, No. 3:21-pq-713
•   Eiland v. Syngenta AG, No. 3:21-pq-714
•   Willyard v. Syngenta AG, No. 3:21-pq-715
•   Bakken v. Syngenta Crop Protection LLC, No. 3:21-pq-722
•   Thompson v. Syngenta Crop Protection LLC, No. 3:21-pq-731

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•   Heath v. Syngenta Crop Protection, LLC, No. 3:21-pq-734
•   Bequette v. Syngenta Crop Protection LLC, No. 3:21-pq-752
•   Walker v. Syngenta Crop Protection LLC, No. 3:21-pq-763
•   Rowan v. Syngenta AG, No. 3:21-pq-778
•   Willey v. Syngenta AG, No. 3:21-pq-784
•   Taylor v. Syngenta Crop Protection LLC, No. 3:21-pq-786
•   Thibodeaux v. Syngenta Crop Protection LLC, No. 3:21-pq-788
•   Morrow v. Syngenta Crop Protection LLC, No. 3:21-pq-785
•   Causey v. Syngenta Crop Protection LLC, No. 3:21-pq-790
•   Burnette v. Syngenta Crop Protection, LLC, No. 3:21-pq-822
•   Adams v. Syngenta Crop Protection LLC, No. 3:21-pq-828
•   Tippey v. Syngenta Crop Protection LLC, No. 3:21-pq-829
•   Barber v. Syngenta Crop Protection LLC, No. 3:21-pq-830
•   Altman v. Syngenta Crop Protection, LLC, No. 3:21-pq-832
•   Douglas v. Syngenta Crop Protection, LLC., No. 3:21-pq-833
•   Halloran v. Syngenta AG, No. 3:21-pq-834
•   Stanton v. Syngenta Crop Protection, LLC, No. 3:21-pq-835
•   Fuller v. Syngenta Crop Protection, LLC, No. 3:21-pq-836
•   Branscum v. Syngenta Crop Protection, LLC, No. 3:21-pq-838
•   Branscum v. Syngenta Crop Protection, LLC, No. 3:21-pq-839
•   Shea v. Syngenta Crop Protection LLC, No. 3:21-pq-840
•   Bankston v. Syngenta Crop Protection, Inc., No. 3:21-pq-843
•   Fillinghim v. Syngenta AG, No. 3:21-pq-846
•   Bergmann v. Syngenta AG, No. 3:21-pq-847
•   Parker v. Chevron U.S.A., Inc., No. 3:21-pq-880
•   Odom v. Syngenta Crop Protection LLC, No. 3:21-pq-849




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Dated: September 13, 2021   Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 13, 2021, the foregoing was

electronically filed using the CM/ECF system, which will send notification of such filing to all

counsel of record.


                                                    /s/ Ragan Naresh
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